     Case 3:16-cv-02994-CAB-MDD Document 11 Filed 03/29/17 PageID.46 Page 1 of 1




          MINUTE ORDER OF THE UNITED STATES DISTRICT COURT

                       SOUTHERN DISTRICT OF CALIFORNIA



             Marcia Depew v. Square Two                            16-cv-2994-CAB-
Case Name:                                          Case Number:
             Financial Services, et al.                            (MDD)

Hon. Cathy Ann Bencivengo       Ct. Deputy Lori Hernandez       Rptr Tape: n/a

     On March 21, 2017, both Defendants filed separate Notices of Filing of Bankruptcy
     Petitions [Doc. Nos. 8, 9], filed with the United States Bankruptcy Court for the
     Southern District of New York, Case Nos. 17-10663 and 17-10659. Accordingly,
     this case is AUTOMATICALLY STAYED pursuant to 11 U.S.C. § 362(a), and
     is HEREBY ADMINISTRATIVELY CLOSED. Any party may file a motion for
     relief from stay with this Court, if appropriate.
     It is SO ORDERED.

Date: March 29, 2017                                                         Initials: NOD
